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A0 245B (Rev 12/03) Judgment in a Criminal Case
         Sheet 1



                                     United States District Cout1:'                                                       j 3: t
                                                   SOUTHERN DISTRICT OF GEORGiA
                                                        SAVANNAH DTVISION

         UNITED STATES OF AMERTCA                                           JUDGMENT IN A CRIMINAL CASE
                      V.
               Charleston Samuels.                                           Case Number              CR407-0023 9-006
                   aka "Cuz"
                                                                             USM Number:              13260-021

                                                                            Michael G. Hostilo
                                                                            Defendant's Attorney

THE DEFENDANT:
[X]      pleaded guilty to Count 1.
         pleaded iiolo contendere to Count(s) - which was accepted by the court.
         was found guilty on Count(sL after a plea of not guilty.

The defendant has been convicted of the following offense:


          Title & Section                Nature of Offense                                          Offense Ended                  Count

                                         Conspiracy to make, possess, and utter                    February 20, 2007
           18 U.S.C. § 371               counterfeit securities of the United States and
                                         corporate organizations
       The defendant is sentenced as provided in pages 2 through 6 ofthisjudgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
         The defendant has been found not guilty on count(sL.....
[X]      Counts 14 and 15 are dismissed on the motion of the United States.


         it is ordered that the defendant must notify the United States attorney for this district withh 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                 September 29, 2008
                                                                                 Date      Imposition ofJudg


                                                                                 Signature of Judge

                                                                                 William T. Moore, Jr.
                                                                                 Chief Judge, U.S. District Court
                                                                                 Name and Title of Judge


                                                                                 Date
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                         Judgment-Page 2 of 6
        Sheet 2 - imprisonment

DEFENDANT: Charleston Samuels, aka "Cuz"
CASE NUMBER: CR407-00239-006
                                       IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 18 months

[X]       The Court makes the following recommendations to the Bureau of Prisons:
          It is the Court's intent that the defendant receive credit toward his sentence for all of the time spent in
          custody since February 20, 2007, since he has been in custody since that date for relevant conduct.

[X]       The defendant is remanded to the custody of the United States Marshal.
[]        The defendant shall surrender to the United States Marshal for this district:

          [] at...........[ Ja.rn. [ ]p.m.on
          [ ] as notified by the United States Marshal.


[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          [ ] before 2 p.m. on ______
                as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.
                                                        RETURN
          I have executed this judgment as follows:




           Defendantdelivered on ____________________ to __________________________
at                 ____________________________ , with a certified copy of this judgment.




                                                                                          United States Marshal


                                                                                 By
                                                                                        Deputy United States Marshal
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AO 245B (Rev 12/03) Judgment in a Criminal Case                                                                                         Judgment-Page 3 of 6
       Sheet 3 - Supervised Release

DEFENDANT: Charleston Samuels, aka "Cuz"
CASE NUMBER: CR407-00239-006
                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, State, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

          The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future substance abuse.
          (Check, if applicable.)

[X]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[XJ       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall register with the state sex offender registration agency inthe state where the defendant resides, works, or is a student, as
          directed by the probation officer, (Check, if applicable.)

     I    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days ofeach month;

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities;

5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;

11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
          of the court;
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendant's compliance
          with such notification requirement; and
 14)      Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release,
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AU 245B (Rev 12/03) Judgment in a Criminal Case:                                                      Judgment-Page 4 of 6
        Sheet 3C - Supervised Release

DEFENDANT: Charleston Samuels, aka "Cuz"
CASE NUMBER: CR407-00239-006


                                           SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of treatment for drug and alcohol abuse. The costs of treatment
          shall be paid by the defendant in an amount to be determined by the probation officer, based on ability to
          pay or availability of third-party payment.

2.        The defendant shall participate in a program of testing for drug and alcohol abuse.

3.        The defendant shall complete 150 hours of community service during the first 18 months of supervision.

4.        The defendant shall provide the probation officer with access to any requested financial information. The
          defendant shall not incur new credit charges or open additional lines of credit without the approval of the
          probation officer unless the defendant is in compliance with the installment payment schedule.

5.        The defendant shall earn his General Educational Development (GED) diploma if he does not do so while
          in the custody of the Bureau of Prisons.

                                                     ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


     (Signed)
                     Defendant                                          Date




                     U. S. Probation Officer/Designated Witness         Date
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A0 245B (Rev 12/03) Judgment in a Criminal Case:                                                                            Judgment-Page 5 of 6
        Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Charleston Samuels, aka "Cuz"
CASE NUMBER: CR407-00239-006
                            CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                          Assessment                      Fine                     Restitution

 Totals:                                                            $100                                           $11,195.84

    The determination of restitution is deferred until           An Amended Judgment in a Criminal Case (AO 245C) will be entered after
        such a determination.

[X] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3 664(i), all nonfederal
         victims must be paid before the United States is paid.


             Name of Payee                         Total Loss*             Restitution Ordered                    Priority or Percentage
Lighthouse Liquors                                                               $5,637.50                                 50,3%
Attn: Jason Watts
2810 Old Dawson Road
Albany, Georgia 31707
229-446-1200

Michael's Package Store                                                            $1,913.00                               17.1%
Attn: Harry Martin
Post Office Box 661
Leesburg, Georgia 31763
229-759-9848

Wal-Mart #606                                                                      $3,645.34                              32.6%
Attn: Dorothy Shuff
4725 East Highway 80
Savannah, Georgia 31410
912-898-1391
                                     Totals:                                       $11,195.84


           Restitution amount ordered pursuant to plea agreement

[XI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
        to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).
  I     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                     The interest requirement is waived for the      [ ] fine       [ I restitution.
                     The interest requirement for the    [ I fine       [ I restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, IIOA and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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A0245R (Rev 12/03) Judgment in a Criminal Case:                                                                                Judgment-Page 6 of 6
        Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Charleston Samuels, aka "Cuz"
CASE NUMBER: CR407-00239-006
                                                    SCHEOULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of $,W due immediately, balance due

               not later than _; or
           [X] in accordance with [ ] C, [ } D, [ J E, or [X] F below; or

B [ ] Payment to begin immediately (may be combined with [ ] C,                      ] D, or [ ] F below); or

C [ ] Payment in equal - (e.g., weekly, monthly, quarterly) installments oflover a period of_ (e.g., months or years), to commence
         - (e.g., 30 or 60 days) after the date of this judgment; or

D [ J Payment in equal - (e.g., weekly, monthly, quarterly) installments of Lover a period of_ (e.g., months or years), to commence
         je.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [ I Payment during the term of supervised release will commence within - (eg., 30 or 60 days) after release from imprisonment.
      the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F [X] Special instructions regarding the payment of criminal monetary penalties: Pursuant to 18 U.S.C. § 3664(f)(3)(B), nominal
        payments of either quarterly installments of a minimum of $25 if working non-UNICOR or a minimum of 50 percent of monthly
        earnings ifworkingUNlCOR shall be made. Upon release from imprisonmentand while on supervised release, nominal payments
        of a minimum of $200 per month shall be made. Payments are to be made payable to the Clerk, United States District Court, for
        disbursement to the victims.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
inmate Financial Responsibility Program, are made to the clerk of the court,
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[X]      Joint and Several
            An Amended Judgment and Commitment Order will be entered in this case after all convicted codefendants have been
            sentenced so as to address with precision the extent to which restitution will be paid jointly and severally.


         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):


         The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
